
7 So.3d 1175 (2009)
STATE of Louisiana
v.
Eric CHARLES.
No. 2009-KK-0877.
Supreme Court of Louisiana.
April 22, 2009.
Writ denied as moot. If the Commissioners of the Orleans Parish Criminal Court are not currently adhering to the constitutional guidelines set forth in County of Riverside v. McLaughlin, 500 U.S. 44, 111 S.Ct. 1661, 114 L.Ed.2d 49 (1991), and codified into state law in La.C.Cr.P. art. 230.2, they should do so in the future. Absent a bona fide emergency or other extraordinary circumstance, probable cause determinations are to be held within forty-eight hours of arrest. Riverside, 500 U.S. at 56-7, 111 S.Ct. 1661. In addition, probable cause hearings should not be delayed for the purpose of gathering additional evidence to justify the arrest. Id.
WEIMER, J., would grant.
